             Case 2:24-mj-00076-DM Document 7 Filed 05/24/24 Page 1 of 2
MINUTE ENTRY
MAY a4, ZOZ+
DOSSIT]R, M.J.

                                             LINITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF LOUISIANA


 LTNITED STATES OF AMERICA                                                 CRIMINAI- ACTION
 VERSUS                                                                    NO.24-76
 CARSON MAGEE RIESS                                                        SEC.TION: MAG

                                                      DETENTION HEARING Gurh twtaqc e

PRESENT: X/DEFENDANT

! nurENDANr 4'prJie fi) o? MA(r Mq p^ firNALrV
X/COLINSEL FOR THE DEFENDANT




X/ASST. U.S. ATTORNEY                      STI.JARI'THERIOT

  /INTERPRETER
(lnt0rprctcr ilcsignated b1,thc (ioLrrt antl suorn. Iitrc    M. to   M.)


_/GOVERNMENT WITNES S(ES)



_/DEFENSE WTTNESS(ES)




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          Case 2:24-mj-00076-DM Document 7 Filed 05/24/24 Page 2 of 2

    CARSON MAGEE RIESS                                   24-76 MAG

    DEFENDANT                                            CASE NO

THE COURT ORDERS AFTER HEARING TESTIMONY PITESENTED IN THE ABOVE,
CAPTIONED MATTER:

_/ DEFENDANT IS ENTITLED TO RELEASE. BOND SET AT


SPECIAL CONDITIONS: (1) HE SHALL NOT COMMIT A FEDERAI,. STATE OR I-OCAL CRIME
DURING THE PERIOD OF' RELEASE; (2) HE SHALL NOT IN'fllRIrERE WITH, INTIMIDAI'E,
THREATEN, HARM, OR INFLUENCE ANY.IUROR. GOVERNMEN'IWITNIjSStrs. VICI'flMS OR
FEDERAL AGENTS,




_/THE COURT ACCEPTED DEITENDANTS VERBAL CONStlN'l'IN I-l11tJ OI' SIGNA.fiJItll ON
THE APPEARANCE BOND AND ORDER SETTING CONDI'|IoNS OI, REI,i-,ASE.

     GOVERNMENT ADVISED OF ITS OBLIGATIONS TO PRODIJCI] ALI- EXCLJLPA'I'ORY
-/
EVIDENCE TO THE DEFENDAN'| PURSL.IANT TO BRAD)'l,'. lv'lARI'LAA'D AND I.fS PROGENY
AND ORDERED TO DO SO TIMELY.

     / DEFENDAN'f EXI)CtJl'lrD l'llf: IIOND ANI) Wn S lllrl.lrASIil)

*  DEFENDANT REMANDED TO THE CUSTODY OF THE U.S, MARSIIAL I.JNTII, i}ONE*€
PERFEeFED. De{e^^,tr        c^^
                      V\eWin3                   ,el tor
                                           Sl3ol^1
     / DEFENDANT IS NOT ENTITLED TO RELEASE.

   / DEFENDANT IS ORDERED DETAINED AND REMANDED TO THE CUSTODY OF THE
U.S. MARSHAL.

     / WRITTEN FINDINGS AND STATEMENT OF REASONS ORDERING DETENTION FILED

     llT IS STIPULATED TFIAT IF THE AGEN'| WERIr CAI-LI1D'fO-ftlSTII;Y. SAID
                                                                            'f
TESTIMONY WOULD BE CONSISTENT WITH I"HAT CON'|AINED IN I IE
COMPLAINT/AFFIDAVIT.
   IIT IS STIPULATED THAT IF THE PRETRIAL SERVICES/PITOBATION OF'ITICER WERE
CALLED TO TESTIFY" SAID TES-rIMONY WOUI-D IIE CONSISTT:NT WI fH 1'l IAT
CONTAINED IN HIS/HER REPOI{'T.
  /THE DEFENDANT WAIVED/STIPULATED TO DETL,N't'lON RI:SIIRVING l-llS/tit-.R RIGHT
TO REOPEN

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      a-+ =l'lnz ft4,c5Y                o   +     UvrrgLA ,
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